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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

LEE BURRELL,                                       §
     Plaintiff                                     §
                                                   §        Civil Action No.:
v.                                                 §
                                                   §        CLASS ACTION
                                                   §        Complaint for Accommodation
SECOND MAPLE AND MCKINNEY,                         §        Discrimination Under the A.D.A.
L.P. and HERMITAGE                                 §
INVESTMENTS, INC.,                                 §        JURY TRIAL
   Defendants                                      §



    ORIGINAL COMPLAINT, DEMAND FOR JURY TRIAL AND FOR CLASS ACTION

1.      Plaintiff, Lee Burrell, brings this action pursuant to Title III of the Americans with

Disabilities Act ("ADA"), 42 U.S.C. § 12101 et seq., the Texas Architectural Barrier Act1 (the

“TABA”) and the TEX. HUM. RES. CODE § 121.001 et seq. (the “THRC”). This Complaint seeks

redress for past and continuing discrimination against persons with disabilities and to bring the

premises into compliance with Texas and Federal law including the ADAAG2.                          This

discrimination is occurring at a public accommodation in Dallas, Texas that is a commercial

property on McKinney Avenue that has a One Stop Food Store with a small Dickey’s BBQ

inside. Plaintiff brings this civil rights claim against the Defendants because Plaintiff and the

members of the Proposed Class, by reason of their disability, are being excluded from

participation in or being denied the benefits of the services, programs, or activities of and being

subjected to discrimination by the Defendants at this property and its public accommodations.


1
 Texas Revised Civil Statutes, Article 9102 et seq., (the “TABA”). The TABA is now codified in the Texas
Government Code at chapter 469.



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2.         Plaintiff seeks to enjoin the Defendants from maintaining and to require that the

Defendants remove the architectural barriers that interfere with Plaintiff’s and the Proposed

Class’ right to the full and equal enjoyment of the goods, services, facilities, privileges,

advantages, or accommodations at the property.

3.         Plaintiff also seeks a permanent injunction to prevent the Defendants from engaging in

these unlawful practices, as well as declaratory relief, and damages for the violation of Plaintiff’s

civil rights and the civil rights of each of the members of the Proposed Class under Texas State

law, along with attorney's fees and costs of litigation.

                                               JURISDICTION

4.         This Court has jurisdiction over the federal claims brought in this action under 28 U.S.C.

§1331 and 42 U.S.C. §12188 and supplemental jurisdiction over any state claims pertaining to

this discrimination under 28 U.S.C. §1367.

                                                   PARTIES

5.         Plaintiff Lee Burrell is an individual with a disability within the meaning of the ADA

Sec. 3(2)(A), 42 U.S.C. 12102(2)(A), and a "Person with a disability" as defined by TEX. HUM.

RES. CODE § 121.002(4). He is mobility impaired and uses a wheelchair for mobility.

6.         Defendant Second Maple and McKinney, L.P. is a Texas limited liability partnership

doing business in Texas. Defendant Second Maple and McKinney, L.P. owns the real property

in this case. Second Maple and McKinney, L.P. lists its agent for service of process as Scott G.

Damuth located at 2716 West Main Street, Gun Barrel City, Texas 75156.

7.         Defendant Hermitage Investments, Inc. is a Texas for profit corporation doing business in

2
    Federal ADA Guidelines for Buildings and Facilities, 28 C.F.R. Part 36, Appendix A, (the “ADAAG”).


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Texas and is the general partner of Second Maple and McKinney, L.P. Hermitage Investments,

Inc. lists its agent for service of process as a very similar person to the other agent. Hermitage

Investments, Inc. lists its agent for service of process as G. Scott Damuth located at 2716 West

Main Street, Gun Barrel City, Texas 75156. Second Maple and McKinney, L.P. and Hermitage

Investments, Inc. are collectively referred to herein going forward as “Defendant” or “Landlord”.

8.      The Property is a commercial property located generally on McKinney Ave. in Dallas,

Texas. The Property is more particularly described in Dallas County records as HIGHLAND

PARK LAND CO 1 BLK 4/541 LT 5A ACS 0.5445, and has a value of approximately

$3.000,000.00. The Defendant purchased the Property approximately 20 years ago.

                             BACKGROUND OF LEGAL CLAIMS

9.      More than 25 years ago Congress determined that disabled people, such as the Plaintiff

and the Proposed Class, were suffering discrimination. Specifically, Congress found inter alia

the following:

        (a)      some 43,000,000 Americans have one or more physical or mental
                 disabilities, and this number is increasing as the population as a whole is
                 growing older;

        (b)      individuals with disabilities continually encounter various forms of
                 discrimination, including outright intentional exclusion, the discriminatory
                 effects of architectural, transportation, and communication barriers,
                 overprotective rules and policies, failure to make modifications to existing
                 facilities and practices, exclusionary qualification standards and criteria,
                 segregation, and relegation to lesser services, programs, activities,
                 benefits, jobs, or other opportunities;

        (c)      the Nation's proper goals regarding individuals with disabilities are to
                 assure equality of opportunity, full participation, independent living, and
                 economic self-sufficiency for such individuals; and




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            (d)      the continuing existence of unfair and unnecessary discrimination and
                     prejudice denies people with disabilities the opportunity to compete on an
                     equal basis and to pursue those opportunities for which our free society is
                     justifiably famous, and costs the United States billions of dollars in
                     unnecessary expenses resulting from dependency and non-productivity.”3

10.         As a result of these findings, the Congress passed the Americans with Disabilities Act

(the “ADA”), 42 U.S.C. Sec. 12101 et seq. That act forms the basis for this action. The ADA

was designed to do several things, specifically among other things:

            (a)      to provide a clear and comprehensive national mandate for the elimination
                     of discrimination against individuals with disabilities;

            (b)      to provide clear, strong, consistent, enforceable standards addressing
                     discrimination against individuals with disabilities;

            (c)      to ensure that the Federal Government plays a central role in enforcing the
                     standards established in this chapter on behalf of individuals with
                     disabilities; and

            (d)      to invoke the sweep of congressional authority, including the power to
                     enforce the fourteenth amendment and to regulate commerce, in order to
                     address the major areas of discrimination faced day-to-day by people with
                     disabilities.”4

11.         In an effort to prevent discrimination against persons with disabilities, Texas passed the

Texas Architectural Barrier Act5 (the “TABA”). The intent of the TABA was to make all

buildings and facilities covered by that article accessible to and functional for, persons with

disabilities to, through, and within their doors. The TABA states, “The provisions of this article

are to further the policy of the State of Texas to encourage and promote the rehabilitation of

persons with disabilities and to eliminate, insofar as possible, unnecessary barriers encountered

3
    42 U.S.C. 12101(a) Only portions are set out in full so lettering does not match statute.
4
    42 U.S.C. 12101(b).
5
    Tex. Civ. Stat. Art. 9102 Sec. 3(b). The TABA was later incorporated into the Tex Gov Code chapter 469.



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by persons with disabilities, whose ability to engage in gainful occupations or to achieve

maximum personal independence is needlessly restricted.”6

12.        The Texas Accessibility Standards (the “TAS”) adopted as a result of the TABA apply to

“a privately funded building or facility defined as a ‘public accommodation’ by Section 301(7)

of the Americans with Disabilities Act of 1990, and its subsequent amendments, that is

constructed or renovated, modified, or altered on or after January 1, 1992.”7 (emphasis added)

13.        The Texas Human Resource Code (the “THRC”) prohibits discrimination against

disabled individuals to wit, “Persons with disabilities have the same right as persons without

disabilities to the full use and enjoyment of any public facility in the state.” Tex Hum Res. Code

121.003 makes a failure to comply with Chapter 469 of the Government Code or to make

reasonable accommodations in policies, practices and procedures an act of discrimination.

14.        So both Federal and State laws impose obligations on commercial property owners

regarding the disabled.

15.        As a result of Plaintiff’s disability, using many public accommodations is already

difficult even when architectural barriers have been removed. By failing to comply with the law

and by owning or operating non-complying public accommodation, the Defendant continues the

discriminatory effects that the laws sought to reform.

16.        Under the ADA, both the landlord who owns the building and the tenants who own or

operate the places of public accommodation are liable for the violations of the ADA alleged




6
    Tex. Civ. Stat. Art. 9102 Sec. 1.
7
    Tex. Civ. Stat. Art. 9102 Sec. 2(a)(4).


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herein. As between those parties, allocation of responsibility for complying with the obligations

of the ADA may be determined by lease or other contract. 36 C.F.R. 201 (b).

17.      Under Texas law the owner of the property is responsible for THRC damages that are

conclusively presumed to have occurred when a violation of Chapter 469 has occurred or when

an owner fails to make reasonable accommodations to its policies practices and procedures

resulting in discrimination at a covered property.

18.      Congress provided that the primary enforcement mechanism for the ADA would be

private citizens. The State of Texas provided that private citizens have the right to file suit in a

court of competent jurisdiction to seek recovery for damages. Thus, private citizens have been

given the right to file suit to enforce these civil rights laws to assure access to the public

accommodations in Texas. There are simply too many pieces of property for these government

agencies to single handedly bring into compliance.

19.      The Property is completely under the control of the Defendant. The Plaintiff and the

members of the Proposed Class have no control of the Property or the fact that they are disabled.

The existence and requirements of 25 year old laws can come as no surprise to any entity owning

or operating commercial property.

                           PRE-SUIT NOTICE WAS ATTEMPTED

20.      Pre-suit notice is not required under the statutes. Counsel for the Plaintiff did, however,

provide such notice and an opportunity for Defendant to resolve this matter. A letter was sent via

overnite to the landlord’s agent for service and to the address on the tax role. The letter included

a draft copy of this complaint. The letter requested that the Defendant have its counsel contact

Plaintiff’s counsel if it wanted to try and resolve this matter outside formal litigation. No



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response was ever received. As a result, this suit has been filed and the Defendant is free to

assert whatever defenses it claims to have.

21.      At any time prior to receiving the letter and Complaint from the Plaintiff the Defendant

could have modified the Property to come into compliance with the more than 25 year old laws

and avoided this suit. But the Defendant did not. What the Defendant chose to do instead was to

buy, own and operate Property in direct violation of Federal and Texas law and to thereby

discriminate against the Plaintiff and the Proposed Class.

22.      Plaintiff and the Proposed Class, are now exercising their rights granted by Congress and

the State of Texas, to enforce the laws to stop the discrimination and to enforce the statutory

penalties for the discrimination the Defendant has caused.

                                              FACTS

23.      The Property is commercial property with a public accommodation, a convenience

store/restaurant, located right on McKinney Ave. The Property has its own parking. There are

public transportation stops located right on McKinney Ave and a trolley that runs in front of the

Property as well.

24.      Plaintiff uses a wheelchair for mobility. Mr. Burrell lives about 10 to 15 minutes from

the Property. Mr. Burrell pulled in to the Property to get some BBQ. When he got out he

attempted to use the bathroom to wash his hands. The restroom is not accessible. The sink is not

accessible. The sink has no clearance for a person in a wheelchair to be able to get under the

sink. The sink in the men’s room at the Property is pictured below.




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25.      When he went to leave, he found that there was not a sufficient amount of room on the

pull side of the door to get out. The door from the restroom is not compliant. A picture of the

doorway appears below.




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26.      Mr. Burrell was discriminated against by the Defendant at the Property.

27.      The problems shown above are not the only barriers at the Property. Despite being right

on McKinney with a Trolley running right in front of the Property, there is not an accessible

route from the sidewalk into the business on the Property. A picture of the barriers that would be

encountered by people entering the Property from the east are pictured below.




28.      The entrance from the sidewalk on the west side of the Property is not compliant as well.

A picture of the barriers encountered if entering the Property from the west are pictured below.




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29.    The law requires and accessible route from the sidewalk to the front door of the business

on the Property. The Property does not have an accessible route to the sidewalk. ADAAG 4.3.2

Location.

       (1) At least one accessible route within the boundary of the site shall be provided
       from public transportation stops, accessible parking, and accessible passenger
       loading zones, and public streets or sidewalks to the accessible building entrance
       they serve. The accessible route shall, to the maximum extent feasible, coincide
       with the route for the general public.
       (2) At least one accessible route shall connect accessible buildings, facilities,
       elements, and spaces that are on the same site.


30.    So what we have in this case is a 3 million dollar piece of Property with a

convenience store and restaurant that doesn’t have an accessible men’s room or an

accessible route from the front door to the sidewalk. The Property was purchased 20

years ago. The building was constructed at the same basic time the Property was

purchased by the Defendant.       The Property is new construction. The plans for the

construction of the Property were never inspected by TDLR. The Property was never

inspected by TDLR for compliance after construction.

31.    Mr. Burrell, like any disabled person, has encountered these types of barriers countless

times over the years. The Property, like so many other properties in the DFW area, does not

comply with the accessibility laws. So long as Property like this fails to provide access, the law

is thwarted.

32.    The law does not require that any plaintiff engage in a futile act to continue to try and

patronize businesses so blatantly in violation of the laws designed to allow Mr. Burrell to access




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and use the facility just like the able bodied, however, Mr. Burrell would like to be able to use

the Property and would like to return to the Property when it is made compliant.

33.    The Defendant has owned and operated this Property without bothering to bring it into

compliance that entire time. The undeniable reality is that more than 25 years after the ADA was

passed this Property is operating with open and obvious barriers to the disabled public and

nothing at all will be done about it until the Plaintiff has hired a lawyer and filed a lawsuit.

34.    After discovery when a full review has been conducted, a complete list of the barriers at

the Property will be provided to the Defendant. The listing in this Complaint is merely intended

to provide the Defendant with information sufficient to conform to the notice pleading

requirements and to show facts sufficient to prove liability.

35.    The types of architectural barriers that exist at the Property are precisely what the ADA

and Texas laws were designed to eliminate. The Plaintiff was discriminated against when he

attempted to visit the Property when he encountered the architectural barriers at the Property.

The Plaintiff would like to be able to visit the Property and would return to the Property if it

were made compliant so that he could park and get in and use the business like an able bodied

person can.

36.    The Plaintiff and members of the Proposed Class will encounter architectural barriers any

time they attempt to visit the Property. The Defendant by failing to remove the architectural

barriers discourages the Plaintiff and all members of the proposed class from attempting to use

the Property and from enjoying the Property in the same way that the able bodied can. By failing

to remove the barriers the Defendant discriminates against the Plaintiff and the mobility impaired

individuals who would like to visit the Property.



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37.     As a result of the Defendant’s conduct and in order to pursue this matter Plaintiff has

retained counsel with more than 29 years of experience, including having been appointed class

counsel on several occasions to represent mobility impaired individuals of Texas. The Plaintiff

has agreed to pay his attorney a reasonable fee. Pursuant to his statutory rights, Plaintiff will

seek to recover his fees and any costs in this litigation from the Defendant if he is the prevailing

party in this case and if the Proposed Class is certified counsel will seek fees for their

representation as well.

                             NEED FOR CLASS CERTIFICTION

38.     ADA Title III cases and cases brought under the THRC are civil rights cases. The

discrimination, in general, is the existence of architectural barriers at the properties. The ADA

and Texas laws were designed to eliminate those discriminatory barriers over time. The laws

require that new locations be designed and constructed in full compliance, and they require that

all modifications to existing locations also be made in full compliance. 8 The laws are structured

so that over time, gradually, all properties will be or become compliant to the maximum extent

feasible.

39.     It has now been more than 25 years since passage of those laws and compliance has

simply not occurred as expected because new construction and modifications are regularly not

made in compliance, owners have not voluntarily made readily achievable modifications as the

law requires, and, so long as this situation exists and so long as property is purchased and or

operated without regard to compliance, compliance will never be achieved.              When non-

compliant modifications are built into a property and when property is purchased without regard




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to compliance a significant purpose of the law is thwarted because this prevents gradual

compliance.

40.        For more than 17 years now counsel for the Plaintiff and the Proposed Class, has

represented disabled individuals on ADA Title III barrier cases. During that time it has become

abundantly clear that individual ADA Title III cases are considered nothing but a nuisance by the

vast majority of commercial property owners. The money damages available under state law to

an individual seeking enforcement are only $300.00 for each violation.

41.        Thus the only “damages” an owner faces in an individual ADA case, above and beyond

the costs to “fix”, are the potential attorney’s fees. So property owners are just not concerned

about getting caught out of compliance because there is no real consequence. Even in the rare

occasion where an owner is caught and sued, the downside amounts to nothing more than doing

what they should have already done years ago and possibly paying a “nuisance” attorney fee in

addition to resolve the case. 9 In other words, it’s just the cost of doing business if you’re caught.

42.        As a result of this situation, commercial property owners have not been motivated over

the past 25 years to come into compliance or to be sure whatever modifications they do make are

made in compliance, or to make sure that when they buy property that it is compliant and/or that

modifications are or were made in compliance. A quick drive around the Metroplex to view the


8
    The ADA also imposes an affirmative obligation to make readily achievable modifications to the property.
9
  Further, the court is well aware that ADA Title III cases are regularly referred to as “drive by litigation” and the
people bringing the cases along with their counsel are subtly smeared as somehow unscrupulous. This situation
tends to further decrease compliance. Additionally, this kind of “press” seriously dissuades disabled individuals
from raising issues of discrimination lest they be cast as “litigious trouble makers”. This situation in turn prevents
any real awareness of how widespread the noncompliance and discrimination still actually is. Filing this as a class
makes it clear that this case is serious and that the plaintiff and counsel stand ready to prove all of the allegations
contained herein. As a class this case will vindicate the rights of the Proposed Class and will help to raise awareness
regarding the problem the members of the Proposed Class face each day.



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general state of compliance in older properties, newer properties, and in the modifications that

have been made to both types of properties is enough to show any objective person that the laws

are almost universally ignored, misunderstood, or given nothing but lip service. The objective

state of compliance that exists, now 25 years later, is strong evidence that the purpose of both the

federal and State laws has been substantially thwarted.

43.        The Property involved in this case is a perfect example. It is a typical piece of

commercial property for the area. It has been owned by the same entity for approximately 20

years. The building on the Property was constructed brand new under the ADA and Texas

Access laws, yet despite this, the Defendant fails to meet even the most basic requirements for a

path through the facility and for providing an accessible restroom at the Property.

44.        Any attempt to come into compliance with the ADA begins with having the Property

assessed. And any basic ADA inspection would turn up the existence of the types of barriers that

have been shown in this Complaint. Any reasonable due diligence regarding ADA compliance

would have found the problems. There open and obvious architectural barriers are violations of

the requirements of ADAAG and the TAS10.

45.         Either the Defendant has never bothered to have the Property inspected for compliance

or the Defendant has ignored any findings of such an inspection. Either way, it is clear that the

policies, practices and procedures of the Defendant have not been modified to try to avoid

discrimination. Such a set of facts shows without a doubt that the Defendant has not modified its

policy, practice and procedure to prevent discrimination at property it owns.




10
     The Texas Accessibility Standards.


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46.    Further, when notified by letter from counsel of the issues at the location before this suit

was filed, the Defendant did not even bother to have their lawyer call the Plaintiff’s counsel.

Nothing will change until suit is filed. It cannot be any clearer, there is no concern about being

caught out of compliance.

47.    Filing this ADA Title III case as a class action instead of as an individual claim will

provide anyone who has had their rights violated the opportunity to collect the state mandated

$300.00 they are entitled to for each violation, it will provide certainty as to the remediation

requirements so that there are not differing legal standards applied against the Defendant

regarding what is “readily achievable”, and, by having notice prominently placed at the property

during the time for claims, this case will begin to raise awareness about the situation that exists

and thereby, over time, help to eliminate it.

48.    This is hardly the only property in DFW, or even within a quarter mile of it, that is out of

compliance. It has been 25 years. Enough is enough. Property owners need to begin to see that a

continued failure to voluntarily comply before being caught can result in consequences beyond

the cost of an individual suit. Once this happens, property owners will begin to come into

compliance voluntarily before being sued, they will make sure modifications are made in

compliance, and they will be careful when purchasing property to be sure it is in compliance, just

as the laws intended.

49.    For the foregoing reasons filing this ADA Title III case as a class action instead of as an

individual claim will ultimately result in less overall litigation in the courts and greater overall

access for the Proposed Class in the future.




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50.        Therefore the Named Plaintiff now seeks to exercise the full panoply of rights and

protections that the law provides by not only seeking broad injunctive relief that will benefit the

Proposed Class, but by taking the additional and crucial step of providing for a method to notice

and pay the Proposed Class members the conclusively presumed $300.00 nominal state law

damages for each civil rights violation if they choose to make application.

51.        The Named Plaintiff does not seek a “class fund” and thus the counsel for the Proposed

Class is not seeking to benefit from taking any portion of such a fund. The Proposed Class

members will each receive 100% of the nominal state law damages. It makes no monetary

difference to the Named Plaintiff or the counsel for the Proposed Class whether 20, 50, 100 or

1000 people make claims. The purpose for the monetary damages portion of this case is to raise

awareness through posting notice at the Property and on Social Media, and to provide a way for

the Proposed Class members, if they so choose, to collect what is a negative value damage award

that state law says they are owed as a matter of law. The nominal state law damages are a classic

negative value claim and they are simply not sufficient to make it cost effective to file an

individual claim for them, thus they cannot not be collected by unnamed members outside of a

class.

          THE CLAIMS MADE IN THIS CASE SUPPORT CLASS CERTIFICATION

52.        In Amchem Products v. Windsor,11 the United States Supreme Court confirmed the

propriety of certifying a class, and held that the analysis should focus on “whether the proposed

class has sufficient unity so that absent members can fairly be bound by decisions of class



11
     Amchem Products v. Windsor, 521 U.S. 591 (1997).



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representatives.”12 The Proposed Class in this case is a civil rights case seeking injunctive relief.

The Supreme Court in Wal-Mart Stores, Inc.13 more recently reiterated what it said in Amchem

when it stated that, “"[c]ivil rights cases against parties charged with unlawful, class-based

discrimination are prime examples” of what (b)(2) is meant to capture.””14                        Courts have

repeatedly held that a putative class of individuals with disabilities is sufficiently identifiable for

purposes of satisfying preliminary requirements of class certification.15

53.         The Proposed Class seeks broad injunctive relief that is identical for each member.

Further, the negative value monetary damages sought in this case are both identical and

conclusively presumed to have occurred as to each member of the Proposed Class. Thus, the

prosecution of the liability issues in this case is almost identical whether it is done as a class or as

an individual claim. Once the violation is shown for any one claimant, such as the class

representative, then the damages flow directly to each claimant who cares to make a claim. As a

result, there are no real “class complications” for trial and very limited issues for discovery.

54.         Because no class fund is being sought the exact size of the class of persons who would be

eligible to make a claim for money damages does not need to be determined, nor could it ever be

as in most civil rights cases. All that has to be determined is that a class is proper under Fed.

Rules Civ. P. 23. Whether an eligible member chooses to make application for the nominal state

law damages is up to them.



12
     Id. At 613.
13
     Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541 (2011).
14
 Id.
15
 See, e.g., Colorado Cross Disability Coalition v. Taco Bell Corporation, 184 F.R.D. 354 (D. Col. 1999); Davoll v
Webb, 160 F.R.D. 142, 143 (D. Col. 1995).



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55.      The size of the “proposed class members who would be eligible” is almost always one of

the most contentious points in any class seeking payment to members because Class Counsel

normally seeks to receive a portion of that amount and so the amount must be set in advance to

be placed into a “fund” even though only a small portion of the eligible members in any class

ever make claims. But in this case, because Counsel is not seeking to benefit from a fund from

which claims will be paid, there is no need for a fund at all. All state law damage claims can

simply be paid by the Defendant if, when, and as, proper application is made by someone to a

claims fund manager.

56.      By declining to benefit from the creation of a “fund”, the Proposed Class Counsel has

streamlined the necessary analysis in this case and has eliminated the vast majority of issues for

class litigation in this case.

57.      The injunctive relief benefits all members, and the “negative value” monetary damages

are available equally to any Proposed Class member who cares to make a valid application. If a

member of the Proposed Class does not care to make a monetary claim, then the Defendant is out

nothing and the member still receives the benefit of the injunctive relief. It simply cannot be any

fairer, or any clearer that this Proposed Class should be certified.

                          REQUIREMENTS OF RULE 23(A) ARE MET

58.      Plaintiff seeks to maintain this action as a class action under Rule 23(b)(2), or

alternatively, Rule 23 (b)(3) of the Federal Rules of Civil Procedure. The Proposed Class would

consist of the following:

      all persons 18 years or older who have a mobility impairment such that they are
      considered disabled under the ADA and Texas law, and, who were discriminated by
      the architectural barriers at the Property and or by the Defendant’ failure to modify its



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       polices, practices and procedures affecting the Property, and, who could bring a suit
       against the Defendant for accommodation discrimination at the Property under the
       ADA and or the THRC, and who do not claim any additional harm that might entitle
       them to greater than the minimum $300.00 nominal damages set by law for each
       violation. (hereinafter, the “Proposed Class”).


                                       The Requirements of Rule 23(a).

59.        The prerequisites to class certification under Fed. R. Civ. P. 23(a) are (1) numerosity; (2)

commonality; (3) typicality; and (4) adequacy of representation.16 A district court has substantial

discretion in determining whether to certify a class and will be reversed on appeal only for an

abuse of that discretion.17 However, “it is important to remember that Rule 23(a) must be read

liberally in the context of civil rights suits.”18 The purpose behind this rule is to aid ‘‘small

individual claimants who would otherwise be reluctant to bring their claims due to the expense

of the litigation.”19 “Niggardliness in determining maintainability must be shunned, for unless

class actions are hospitably received into our judicial system, many valid constitutional claims

may be stymied.”20

60.        Class actions brought pursuant to Title III of Americans with Disabilities Act are

regularly found to satisfy the prerequisites for certification under Rule 23(a) and 23(b).21

Further, the instant class action would serve the express purpose of the ADA, to wit, “a clear and

16
     Amchem at 613; Mullen v. Treasure Chest Casino, L.L.C., 186 F.3d 620 (5th Cir. 1999).
17
     Texaco v. Louisiana Land & Exploration Co., 995 F.2d 43, 44 (5th Cir. 1993).
18
     Jones v. Diamond, 519 F.2d 1090, 1099 (5th Cir. 1975).
19
     Hawaii v. Standard Oil, 405 U.S. 251, 266 (1972).
20
     Diamond, 519 F.2d at 1100.
21
  See Neff v. Via Metro Transit Authority, 179 F.R.D. 185, 196 (W.D. Tx. 1998); Arnold v. United Artists Theatre
Circuit, Inc., 158 F.R.D. 439, 460 (N.D. Cal. 1994) (modified, 158 F.R.D. 439, 460) (N.D. Cal. 1994); Berlowitz v.
Nob Hill Masonic Management No. C-97-01241 M.H.P., 1996 U.S. Dist. LEXIS 25999 (N.D. Cal. December 6,
1996).


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comprehensive national mandate for the elimination of discrimination against individuals with

disabilities.”22      This Court should hold that the Proposed Class in this case is sufficiently

identifiable and that all prerequisites for class certification have been satisfied.

      There is Numerosity in the Proposed Class and Joinder of All Members is Impracticable.

61.        Rule 23(a)(1) requires that the proponent of a class action demonstrate that “the class is

so numerous that joinder of all members is impracticable.”23 Although commonly referred to as a

"numerosity" requirement, "Rule 23(a)(1) is an impracticability of joinder requirement, of which

class size is an inherent consideration within the rationale of joinder concepts."24 The court need

not make specific findings as to the number of persons in the Proposed Class, but rather “may

examine statistical data and then draw reasonable inferences from the facts in determining

whether the numerosity requirement has been met.’’25

62.        The 5th Circuit Court of Appeals has found that the numerosity requirement was met by a

class with just 25 members26, and it has held that a class range of 100 to 150 members generally

satisfies the requirement.27 It is clear that there is no precise number.

63.        The Plaintiff must show “some evidence or reasonable estimate” of the number who are

in the purported class.28 The statistical data available in this case regarding the number of


22
     42 U.S.C. §12101(b)(l).
23
  FED. R. CIV. P. 23(a)(1); see Phillips v. Joint Legislative Comm. on Performance & Expenditure Review, 637 F. 2d
1014,1022 (5th Cir. 1981).
24
   HERBERT B. NEWBERG AND ALBA CONTE, NEWBERG ON CLASS ACTIONS, § 3.03, at 3-11 (3d
ed.1992).
25
   Pottinger V. Miami, 720 F. Supp. 955 (S.D. Fla. 1989)(citing Padron v. FeaVer, 180 F.R.D. 448, 453 (S.D. Fla.
1998)(certifying class of persons denied supplemental security income benefits, and extrapolating from national
statistics regarding the number of persons similarly situated).
26
   See Zeidman v. J.Ray McDermott & Company, Inc., 651 F.2nd 1030, (5th Cir. 1981).
27
   Mullen v. Treasure Chest Casinos L.L.C. 186 F.3d 620, 624, (5th Cir. 1999)
28
   Zeidman v. J.Ray McDermott & Company, Inc., 651 F.d 1030, 1058 (5th Cir. 1981).


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mobility impaired individuals in the area of the Property is certainly sufficient to meet this

standard. The State of Texas Workforce Investment Counsel29 completed a comprehensive

evaluation of the number of disabled individuals residing in Texas in 2016 and the information is

broken down by county.30 This Report shows that there are approximately 130,000 mobility

impaired individuals living in Dallas County.31

64.        The 5th Circuit Court of Appeals has found that although the numerosity requirement

would not be met by a class with 20 members, it was met by a class with 317 members,32 and

that a potential class of 580 individuals who had their property demolished without adequate

notice satisfied the numerosity requirement.33

65.        If only 1% of the disabled individuals in Dallas County are affected, that is still more

than sufficient to show numerosity. Further records show that Dallas County is approximately

900 square miles. Therefore if the location draws only from 1.5 miles in each direction, that is

1% of Dallas County. 1.5 + 1.5 = 3. 3 miles north south and 3 miles east west is 3x3 or 9 square

miles. That is 1%. It is not credible to argue that the Property does not draw people from at least

that far away. Clearly, numerosity is met in this case.

66.        The discrimination in this case has been occurring for many years. The vast majority of

the people who have been discriminated against will never be found and the statute of limitations


29
   The Texas Workforce Investment Council (“The Council”) was created in 1993 by the 73rd Texas Legislature. As
an advisory body to the Governor and the Legislature, the Council assists with strategic planning for and evaluation
of Texas’ workforce system.
30
   See People with Disabilities: A Texas Profile. The Texas Workforce Investment Council 2016. Link to pdf
provided here: https://gov.texas.gov/uploads/files/organization/twic/Disabilities_Profile.pdf
31
     Id.
32
     Boykin v. Georgia-Pacific Corp., 706 F.2d 1384, 1386 (5th Cir. 1983).
33
     James v. City of Dallas Texas, 254 F.3d 551 (5th Cir. 2001).



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on their state law claim for money damages has passed. However, even beginning just 2 years

back from the date of filing of this case means that there are more than 104 weeks already in the

class time frame. Even if just one or two mobility impaired persons a week visited the location,

the numerosity requirement would also be more than met. The Texas Workforce Data shows that

fully 5% of the population is mobility impaired. It cannot be reasonably be argued that fewer

than fifty total people visit the Property each week. 5% of 50 is 2.5 people a week. So again, it is

clear numerosity is met.

67.         Further, the analysis of numerosity in this circuit is not strictly defined by numbers – the

analysis includes other factors, among which are whether the proposed class members are

identifiable or knowable.34 In this case the members and future members are, for the most part,

simply not known or knowable as is the case in virtually every civil rights case.                    This results

from the very nature of the Proposed Class, namely individuals who have been to the Property or

who will go before remediation is complete.35

68.         The Property contains a convenience store/restaurant and no identification is required to

enter. Few if any records exist to identify the people who have gone and none of those will

include information to know whether the person was or is disabled. Further, whatever number

who did go to the Property does not include the people who were discouraged from going

because of the architectural barriers, such as people who were discouraged from even trying to




34
   See Penderson v. Louisiana State University, 213 F.3rd 858 (5th Cir. 2000)(Plaintiffs showing of 5000 “potential”
class members was significant factor in determining if joinder was practicable.)
35
     Id. at 213 F.3d at 868, n. 11.



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go when they saw the paths of travel.36 Any potential class member who visited the Property

would have immediately encountered some of the non compliant conditions shown in this

Complaint. Many may have simply left and told their friends not to bother going. For all of these

reasons this Court should conclude that Fed. R. Civ. P. 23(a)(1)’s numerosity requirement has

been satisfied.

                               Commonality is met by the Proposed Class

69.      The questions of law and fact in this case between members of the Proposed Class are not

just similar, they are identical. The claims made in this case are identical regardless of which

disabled claimant brings them. The law sets the requirements for what is compliance and what is

an architectural barrier, regardless of the level of disability. As a practical matter there is,

therefore, no difference at all between trying the liability issues in an individual ADA Title III

case or one brought as a class.

70.      Specifically, here are just some of the questions of law and fact common to the Proposed

Class:

         (a)      Whether Defendant is in violation of the THRC.
         (b)      Whether Defendant has violated Tex Gov Code Chapter 469.
         (c)      Whether Defendant is in violation of the ADA.
         (d)      What barriers are readily achievable to remove.
         (e)      What modifications have been made to the Property.

                                 Typicality is met by the Proposed Class




36
  A Plaintiff is not required to engage in a futile act. (The Fifth Circuit appears to have endorsed this theory in
Frame v. City of Arlington, 657 F.3d 215, 236 (5th Cir., 2011) (a Title II ADA case), cert. denied, 132 S.Ct. 1561,
182 L.Ed.2d 168 (2012), when it stated that “a disabled individual need not engage in futile gestures before seeking
an injunction; the individual must show only that [the inaccessible object or place] affects his activities in some
concrete way.”.)


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71.     Plaintiff’s claims are typical of the claims of the members of the Proposed Class. The

Plaintiff, like other members of the Proposed Class, has a mobility impairment and uses a

wheelchair. Plaintiff’s impairment is, for the most part, equal to or worse than the impairments

of the unnamed members of the Proposed Class. And once again, the right to relief under the

claims is identical for any disabled person. No Plaintiff has, nor could they ever have, a right to

relief any different than any other plaintiff or member of the Proposed Class regardless of the

level of their disability. Therefore this case presents an ideal situation for a class.

           Adequacy of Representation is met by the Named Plaintiff and Counsel

72.     The named Plaintiff claims that the Defendant has violated the named Plaintiff’s civil

rights by, among other things, owning or operating a public accommodation that has

architectural barriers in violation of the laws, new construction modifications that fail to comply

with the ADAAG and TAS requirements, and/or by failing to have policies, practices, and

procedures to prevent discrimination at the Property, and/or has failed to make readily achievable

modifications. These failures are a violation of his civil rights and those of all members of the

Proposed Class.

73.     Plaintiff will fairly and adequately protect the interests of the Proposed Class. Plaintiff

has no conflict with the Proposed Class and in fact his interests are identical. The Plaintiff is

mobility impaired just as the other members of the Proposed Class. The injunctive and monetary

relief the Plaintiff is entitled to is identical to the relief that any other member of the Proposed

Class would be entitled to obtain regardless of the level of “impairment”. Plaintiff’s interest is in

getting compliance at the Property, assuring compliance in the community at large, raising

awareness in the community for the discrimination that has occurred, and if this case goes



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forward, in assuring that each member of the Proposed Class be allowed an opportunity to collect

the monetary damages they are owed if they choose to do so.

74.         The Plaintiff has retained counsel with previous experience in class action litigation in

precisely the same area within which this suit seeks recovery. Palmer Bailey is a lawyer with

more than 29 years of litigation experience. He has represented numerous disabled individuals in

individual lawsuits similar to this one for more than 17 years. Further, Mr. Bailey has been

approved in the Northern District as class counsel for disabled individuals on class action cases

virtually identical to this one. Mr. Bailey is therefore particularly well suited to represent the

Proposed Class.

        THIS CLASS IS PROPERLY CERTIFIED UNDER FEDERAL RULE OF CIVIL
                              PROCEDURE 23(b)(2)

75.         This action may be maintained as a class action pursuant to Federal Rule of Civil

Procedure 23(b)(2) because the Proposed Class seeks injunctive relief that is identical for all

members. Defendant’ violations of the ADA are applicable to all members of the Proposed

Class equally regardless of the level of disability, or the type of barrier encountered. Therefore

the injunctive relief sought in this case is identical as to each member of the Proposed Class.

Further, because the damages are nominal damages awarded for the vindication of a civil rights

violation that flow directly from the violation they are “incidental” to the injunctive relief sought,

and thus proper under the Supreme Court’s most recent analysis in Wal-Mart Stores, Inc. v.

Dukes.37




37
     Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541 (2011).



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76.    Because this is a civil rights case with no Class Fund being sought, and because the

Proposed Class only seeks to represent individuals who do not have any additional harm beyond

nominal damages, this case is as pure of an example of a “Wal-Mart” 23(b)2) with incidental

damages flowing directly from the injunctive injury as could be posited. Quite simply, IF a

person is a member of the Proposed Class, THEN that person is entitled to receive an identical

nominal monetary damage award set by law along with the injunctive relief that is identical for

all Proposed Class members with no additional defenses or calculations to be made.

77.    The obligation of the Defendant to each member of the Proposed Class is identical and is

set by statute. Once discrimination is proved as to one member, discrimination is proved equally

as to all members. So clearly this class is appropriate.

78.    There are virtually no difficulties associated with operating this case as a class per se

beyond the motion to certify it as such. Unlike the vast majority of class actions where damages

are being sought for the Proposed Class members, because no Class Fund is being sought here,

there is no need for any discovery to determine the exact size of the Proposed Class. The

Proposed Class is described and proved under rule 23 and any member who chooses can make a

claim. The claims are limited to those individuals who would have their own right to file suit to

collect the damages. The notice proposed will focus on providing notice at the Property itself

and on social media associated with the Class and the Property. Thereby assuring the best

possible notice, and, that the notice is directed at those who actually go to the Property.

79.      Because there is no need for significant litigation about the exact size of the Proposed

Class or “the fund” because no fund is sought, the case will not require any discovery to

determine exactly how many people are eligible to be a class member. The determination of



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whether or not someone meets the qualifications to be in the class in order to receive monetary

damages will be made if, when and as someone makes a claim. At that time all that it will be

necessary to determine is whether the person is mobility impaired, and whether they went to the

Property. Neither determination requires any extraneous legal defenses or complex calculations.

Basic medical proof, and a signature under oath by the claimant attesting to his having been to

the Property will give rise to a valid claim. If the Defendant cares to challenge that, it can do so

at that time through the claims process.

80.     Regardless, every member of the class of mobility impaired individuals will received the

benefit of the injunctive relief sought. And quite frankly, the case will be conducted on the

liability issues in an identical fashion to an individual Title III, THRC claim.        This case is

therefore an ideal candidate for class certification.



      ALTERNATIVELY THIS CLASS IS PROPERLY CERTIFIED UNDER FEDERAL
                     RULE OF CIVIL PROCEDURE 23(b)(3)

81.     This action may also be maintained as a class action pursuant to Federal Rule of Civil

Procedure 23(b)(3) because the questions of law and fact common to the members of the class

predominate over any questions affecting only individual members, and a class action is a

superior method for the fair and efficient adjudication of the controversy.

82.     The injunctive relief that is available in this case is identical for each member regardless

of the level of their disability. No person could ever require any greater or lesser “compliance”

than any other member. Differences between individual plaintiffs or claimants level of disability

or experience at the Property does not change what the Defendant must do in order to comply if




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the barrier is discriminating. Further, the action necessary to bring suit is identical for every

Proposed Class member. The facts and the law do not just predominate between the Proposed

Class members, the facts and law necessary to prosecute this case are identical between the

Proposed Class members.

83.       There is no conflict between any class representative or any individual member of the

Proposed Class. To the extent that any individual sought to “control the class” there would still

be no difference in how the case even could be conducted, because the individual cannot make

the Defendant do or not do anything that any other claimant can.

84.       There is no other litigation pending against the Defendant on this issue and none is

expected. And again, if there was any filed it would not be capable of obtaining any better or

different relief than the present case and in all likelihood would be abated by the court pending

the outcome of this matter.

85.       A class action is a superior method to resolve this claim. This class is needed in order to

concentrate the negative value state law damage claims to obtain relief for the Proposed Class

that they otherwise would not be able to obtain. Without a class the individual members of the

Proposed Class have no way to ever collect the damages they have incurred that are set by

statute. The state law claims are only $300.00 per person for each violation. It is not

economically feasible to bring a single claim for that amount outside a claim to obtain the

injunctive relief or as a class. Even if it were, it would flood the court with basically identical

claims.

86.       Further, counsel for the Proposed Class is prevented by barratry laws from informing any

other potentially harmed plaintiffs outside of class litigation. Thus the only way the members of



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the Proposed Class can find out about, or get an opportunity to collect their damages is through

the notice that will be provided in this class action. Without a class, each of the individuals in

the Proposed Class will never even learn about, let alone be given the opportunity to collect, the

nominal damages the State of Texas has determined they are owed, should they choose to collect

them.

87.     Further, it has become clear that even 25 years after this law was passed that it is not

taken seriously for the reasons previously set out. A class action will send the clear message that

the law is serious and thus raise awareness of the discrimination that is occurring all over DFW.

88.     Finally, one of the purposes of a class is to obtain finality on an issue so that a Defendant

is not subject to varying standards and requirements. The determination of whether a barrier or

condition is compliant is precisely the kind of issue that class actions are designed to resolve so

that the Defendant will not face multiple differing standards with which to come into

compliance.



                                  CAUSES OF ACTION
                                         Count 1
                     ADA - Improper New Construction and or Alterations

The ADA in section 12183 defines a form of discrimination under section 12182 as:

        (1) a failure to design and construct facilities for first occupancy later than 30
        months after July 26, 1990, that are readily accessible to and usable by individuals
        with disabilities, except where an entity can demonstrate that it is structurally
        impracticable to meet the requirements of such subsection in accordance with
        standards set forth or incorporated by reference in regulations issued under this
        subchapter; and
         (2) with respect to a facility or part thereof that is altered by, on behalf of, or for
        the use of an establishment in a manner that affects or could affect the usability of
        the facility or part thereof, a failure to make alterations in such a manner that, to



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       the maximum extent feasible, the altered portions of the facility are readily
       accessible to and usable by individuals with disabilities, including individuals
       who use wheelchairs. Where the entity is undertaking an alteration that affects or
       could affect usability of or access to an area of the facility containing a primary
       function, the entity shall also make the alterations in such a manner that, to the
       maximum extent feasible, the path of travel to the altered area and the bathrooms,
       telephones, and drinking fountains serving the altered area, are readily accessible
       to and usable by individuals with disabilities where such alterations to the path of
       travel or the bathrooms, telephones, and drinking fountains serving the altered
       area are not disproportionate to the overall alterations in terms of cost and scope
       (as determined under criteria established by the Attorney General).

89.    Additionally, 36 C.F.R. 406 provides that, “(a) New construction and alterations subject

to this part shall comply with the standards for accessible design published as appendix A to this

part (ADAAG).” (emphasis added) As such the law requires that both new construction and

alterations be built in compliance with the ADAAG new construction standards.

90.    The building and facility is new construction under the law. Clearly access into the

Property “affects or could affect the usability of the building or facility or any part thereof.” The

“accessible” route into the business and the restrooms must be accessible. As shown in the facts

section they are not. There is not an accessible route from the front door to the sidewalk at the

Property. There is not an accessible men’s room at the Property. It matters not whether the

Property had the modification when the Defendant purchased the Property, or whether the

Defendant had the Property constructed with the barriers, the Defendant is responsible for

owning and operating a public accommodation with non compliant new construction conditions.

91.    Further, neither a Plaintiff nor its counsel is free to do a full inspection of a property

before filing suit. The items set out in this Complaint show barriers that are clear violations and

are clearly new construction. The pleading contained herein is made simply to put the Defendant

on notice as required under the rules as to open and obvious modifications which do not comply.



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92.    When a piece of commercial property still does not even have proper access to the front

door, or an accessible restroom, it is clear that the law is simply ignored. If the law does not

require an accessible route and restroom at a 3 million dollar piece of new construction after 25

years, then it is difficult to see what access the law does require be provided.

93.    The Defendant discriminates against Plaintiff and the Proposed Class on the basis of a

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

and/or accommodations at the Property in that, the Defendant does not afford to Plaintiff or any

member of the Proposed Class the full and equal use and or enjoyment of or access to the goods,

services, facilities, privileges, advantages, and accommodations available at the Property as

required by law because it owns and operates a facility and public accommodation where there

are alterations or modifications made after January 26, 1992 that are not accessible to the

maximum extent feasible and or where the public accommodation was designed and constructed

entirely after January 26, 1992 but does not meet the new construction requirements.

94.    As a direct and proximate result of the Defendant owning a public accommodation that

has modifications that have not been made in compliance with the law the Defendant has

discriminated against the Plaintiff and the Proposed Class.

                                           Count 2
                  Failure to Implement Policies, Practices and Procedures to
                            Prevent Discrimination under the ADA

95.    The Property is new construction and has several open and obvious architectural barriers

including those listed in the facts section of this Complaint. Any attempt to do the most basic

due diligence regarding ADA compliance would discover the barriers. Further, buying, owning

and operating a piece of Property with a noncompliant accessible route through the Property is



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clear evidence that there is no policy, practice and procedure in place to avoid discrimination at

the Property.

96.    One form of discrimination defined by the ADA in 42 U.S.C. §12182(a)(ii) is,

       (ii) a failure to make reasonable modifications in policies, practices, or
       procedures, when such modifications are necessary to afford such goods, services,
       facilities, privileges, advantages, or accommodations to individuals with
       disabilities, unless the entity can demonstrate that making such modifications
       would fundamentally alter the nature of such goods, services, facilities, privileges,
       advantages, or accommodations;

97.    Either the Defendant did not do any due diligence to find out if the Property was

compliant before having it built or after it was constructed, or it purchased it without doing such

due diligence, or it has ignored the findings of any such due diligence. Either the Defendant has

policies and procedures in place to be sure the property it owns and operates is compliant or it

does not. If it has policies, practices and procedures, then those policies discriminate against the

disabled because the barriers demonstrated in this case are open and obvious.

98.    The Defendant discriminates against Plaintiff and the Proposed Class on the basis of a

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

and/or accommodations at the Property in that, the Defendant does not afford to Plaintiff or any

member of the Proposed Class the full and equal use and or enjoyment of or access to the goods,

services, facilities, privileges, advantages, and accommodations available at the Property as

required by law because the Defendant failed to make reasonable modifications to its policies,

practices and procedures to afford such goods, services, facilities, privileges, advantages, or

accommodations it offers to individuals with disabilities.




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99.      As a direct and proximate result of the Defendant’s failure to modify its policies practices

and procedures the Defendant has discriminated against the Plaintiff and the Proposed Class.

                                          Count 3
                TEX. HUM. RES. CODE – Discrimination under 121.003 (d)(1) for
                  Violation of Texas Government Code Subchapters A and B

100.     TEX. HUM. RES. CODE § 121.003(a) provides that persons who are physically disabled

have the same right as the able-bodied to the full use and enjoyment of any public facility in the

state.

101.     TEX. GOVT. CODE § 469.003 (Vernon 2003) defines one set of public facilities covered

by the law, specifically, “a privately funded building or facility defined as a "public

accommodation" by Section 301(7) of the Americans with Disabilities Act of 1990 (42 U.S.C.

Section 12181), and its subsequent amendments, that is constructed or renovated, modified, or

altered on or after January 1, 1992” (emphasis added). As has been shown, the Property was

either built brand new or modified after 1993 and is therefore covered under Texas law.

102.     The State of Texas, Texas Accessibility Standards (the “TAS”) of the Architectural

Barriers Act, Article 9102, Texas Civil Statutes, are similar to and closely track the ADAAG.

Article 9102 was simply codified into Chapter 469 of the Government Code in 2003.

103.     The TAS clearly sets out certain requirements for public accommodations such as the

Property with regards to design requirements. The TAS are the state equivalent to the ADAAG.

104.     TEX. HUM. RES. CODE § 121.003(d)(1) defines one form of discrimination as a failure to

comply with Chapter 469 of the Government Code.                 Owning covered property where

modifications have been made or it was built new and fails to comply with TAS is a violation of

Chapter 469 and therefore a violation of 121.003. The Property was built new or modified as set



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out in the facts section of this Complaint. The accessible route through the facility and to the

sidewalk is not compliant with the ADA or Texas law. The restroom is not compliant. The

known barriers demonstrate violations of the TABA or Chapter 469 of the Government Code.

Under the law, the owner of the Property is responsible for those violations. The Property is

covered. A violation of 121.003(d)(1) has been shown.

105.   TEX. HUM. RES. CODE § 121.004(b) states that any violation of 121.003 is deemed to

have deprived a person with a disability of his or her civil liberties. The person with a disability

so deprived of his or her civil liberties is then given the right to maintain a cause of action for

damages in any court of competent jurisdiction, and there is a conclusive presumption of

damages in the amount of no less than $300 deemed in favor of the plaintiff for that violation.

106.   The Defendant’s failure to comply with Chapter 469 of the Gov Code by owning covered

property that was constructed as new but does not comply with the new construction

requirements or where modifications have been made but the modifications were not made in

compliance with the Texas Accessibility Standards when such compliance was required is

deemed to be a violation of Texas law 121.003(d)(1) and Defendant is conclusively presumed to

have damaged the Plaintiff and every member of the Proposed Class in the amount of no less

than $300.00 for this violation.




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                                         Count 5
                  TEX. HUM. RES. CODE – Discrimination under 121.003 (d)(2)

107.      TEX. HUM. RES. CODE § 121.003(a) provides that persons who are physically disabled

have the same right as the able-bodied to the full use and enjoyment of any public facility in the

state.

108.      TEX. GOVT. CODE § 469.003 (Vernon 2003) defines one set of public facilities covered

by the law, specifically, “a privately funded building or facility defined as a "public

accommodation" by Section 301(7) of the Americans with Disabilities Act of 1990 (42 U.S.C.

Section 12181), and its subsequent amendments, that is constructed or renovated, modified, or

altered on or after January 1, 1992” (emphasis added). The Property has been modified after

1993 and is therefore covered under Texas law.

109.      TEX. HUM. RES. CODE § 121.003(d)(2) defines one form of discrimination to be a failure

to make reasonable modifications to policies, practices and procedures. This provision basically

tracts the violation set out in the previous section regarding the ADA failure to maintain policies

practices and procedure. The pertinent portions of that pleading section are fully incorporated

herein.

110.      The Defendant’s conduct in buying, owning and operating a property which has open and

obvious violations such as a non compliant parking and no accessible route through the facility

demonstrates a failure to make reasonable accommodation in its policies, practices and

procedures to prevent discrimination at the Property and that failure is a violation of section

121.003(d)(2).




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111.   The Defendant’s failure make reasonable accommodations to its policies, practices and

procedures that results in discrimination is a violation of 121.003(d)(2) against the Plaintiff and

each member of the Proposed Class.

112.   TEX. HUM. RES. CODE § 121.004(b) states that any violation of 121.003 is deemed to

have deprived a person with a disability of his or her civil liberties. The person with a disability

so deprived of his or her civil liberties is then given the right to maintain a cause of action for

damages in any court of competent jurisdiction, and there is a conclusive presumption of

damages in the amount of no less than $300 deemed in favor of the plaintiff for that violation.

113.   Thus the Defendant’s failure to make reasonable accommodation to its policies, practices

and procedures is deemed to be a violation of Texas law 121.003(d)(2) and Defendant is

conclusively presumed to have damaged the Plaintiff and every member of the Proposed Class in

the amount of no less than $300.00 for this violation.

                                   REQUEST FOR RELIEF

       Wherefore Plaintiff respectfully requests that the Court grant the following relief:

114.   An order directing Defendant to bring any modifications that are new construction at the

Property into full compliance with both Federal and State law.

115.   An order to remove the architectural barriers that are readily achievable to remove.

116.   An entry of money judgment against the Defendant, awarding Plaintiff the statutory

minimum damages of three hundred ($300) dollars for the violation of his civil rights under TEX.

HUM. RES. CODE § 121.003(d)(1), and for three hundred dollars ($300) for the violation of his

civil rights under TEX. HUM. RES. CODE § 121.003(d)(2), and for such further amount for his




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time and expense in the prosecution of this cause as a named plaintiff as shown by the evidence

at trial should he be named as Class Plaintiff.

117.   An award to each member of the Proposed Class who makes proper application for the

statutory minimum damages provided for the violation of their civil rights under TEX. HUM. RES.

CODE § 121.003(d)(1) and for three hundred ($300) dollars for the violation of their civil rights

under TEX. HUM. RES. CODE § 121.003(d)(2), by the Defendant.

118.   An award to Plaintiff and the Proposed Class for attorney’s fees, including litigation

expenses, and costs.

119.   An award to Plaintiff and to members of the Proposed Class for all other relief at law and

in equity for which the Court deems appropriate.


Respectfully submitted ____________, 2018, by,


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Plaintiff and the Proposed Class demand a trial by jury.




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